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   Noteholders of Pacific Gas and Electric Company

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                                                                                   1HZ<RUN1<                 LQ',37HUP/RDQV
                                                                                                                       LQ'HOD\HG',37HUP/RDQV
                                        &DVSLDQ&DSLWDO/3                         (DVWUG6WUHHW               LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                 LQ',37HUP/RDQV




Case: 19-30088
                                                                                                                       LQ'HOD\HG',37HUP/RDQV
                                                                                                                       VKDUHVRI3*	(6WRFN
                                                                                                                       VKDUHVRI6HULHV$3UHIHUUHG6WRFNLQWKH8WLOLW\
                                                                                                                       VKDUHVRI6HULHV$3UHIHUUHG6WRFNLQWKH8WLOLW\
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Doc# 744
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                                          &DU9DO,QYHVWRUV                         )LIWK$YHQXH                  LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                 &DOO2SWLRQVLQVKDUHVRI3*	(6WRFN
                                     &HQWHUEULGJH3DUWQHUV/3                       3DUN$YHQXH                  LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                 LQ8WLOLW\5HYROYHU/RDQV
                                                                                                                      LQ',37HUP/RDQV
                                                                                                                       LQ'HOD\HG',37HUP/RDQV




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                                                                                                                       VKDUHVRI6HULHV$3UHIHUUHG6WRFNLQWKH8WLOLW\
                                                                                                                       VKDUHVRI6HULHV+3UHIHUUHG6WRFNLQWKH8WLOLW\
                                       &LWDGHO$GYLVRUV//&                       0DGLVRQ$YHQXH                 LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                 LQ8WLOLW\5HYROYHU/RDQV
                                                                                                                       6KDUHVRI3*	(6WRFN
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                                                                                                                       &DOO2SWLRQVRI6KDUHVRI3*	(6WRFN
                                    &\UXV&DSLWDO3DUWQHUV/3                   (DVWWK6WUHHW               LQ6HQLRU8WLOLW\1RWHV
                                                                                        WK)ORRU                     VKDUHVRI3*	(6WRFN
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                                      ³8WLOLW\5HYROYHU/RDQV´PHDQVORDQVXQGHUWKDWFHUWDLQ6HFRQG$PHQGHGDQG5HVWDWHG&UHGLW$JUHHPHQWGDWHGDVRI$SULOE\DQGEHWZHHQWKH8WLOLW\DQG

                             5HYROYLQJ$JHQW
                                      ³',37HUP/RDQV´PHDQVWKHWHUPORDQVXQGHUWKDWVHQLRUVHFXUHGVXSHUSULRULW\GHEWRULQSRVVHVVLRQQHZPRQH\FUHGLWJXDUDQW\DQGVHFXULW\DJUHHPHQWWKH³',3&UHGLW




Page 6 of 8
                             $JUHHPHQW´LQDQDJJUHJDWHSULQFLSDODPRXQWRI
                                      ³'HOD\HG',37HUP/RDQV´PHDQVWKHGHOD\HGGUDZWHUPORDQVXQGHUWKH',3&UHGLW$JUHHPHQWLQDQDJJUHJDWHSULQFLSDODPRXQWRI    

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                                    'DYLGVRQ.HPSQHU&DSLWDO                      0DGLVRQ$YHQXH                LQ6HQLRU8WLOLW\1RWHV
                                          0DQDJHPHQW                                   WK)ORRU                   LQ8WLOLW\5HYROYHU/RDQV
                                                                                   1HZ<RUN1<               VKDUHVRI3*	(6WRFN
                                   'HXWVFKH%DQN6HFXULWLHV,QF                    :DOO6WUHHW                 LQ6HQLRU8WLOLW\1RWHV
                                                                                         WK)ORRU                   
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Case: 19-30088
                                   'LDPHWHU&DSLWDO3DUWQHUV/3                    :HVWWK6WUHHW              LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                VKDUHVRI3*	(6WRFN
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                                                                                                                      LQ',37HUP/RDQV




Doc# 744
                                                                                                                      LQ'HOD\HG',37HUP/RDQV
                                 (OOLRWW0DQDJHPHQW&RUSRUDWLRQ                    :HVWWK6WUHHW              LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                /RQJ3RVLWLRQLQ&DVK6HWWOHG(TXLW\6ZDSVRI6KDUHVRI3*	(
                                                                                                                      6KRUW3RVLWLRQLQ&DOO2SWLRQVLQ6KDUHVRI3*	(
                               )DUDOORQ&DSLWDO0DQDJHPHQW//&                2QH0DULWLPH3OD]D                LQ6HQLRU8WLOLW\1RWHV
                                                                                        6XLWH                   LQ8WLOLW\5HYROYHU/RDQV
                                                                                 6DQ)UDQFLVFR&$




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                                     /RUG$EEHWW	&R//&                         +XGVRQ6WUHHW                LQ6HQLRU8WLOLW\1RWHV
                                                                                  -HUVH\&LW\1-              LQ',37HUP/RDQV
                               1XYHHQ$OWHUQDWLYHV$GYLVRUV//&                    UG$YHQXH                  LQ6HQLRU8WLOLW\1RWHV
                                                                                   1HZ<RUN1<                
                                2DNWUHH&DSLWDO0DQDJHPHQW/3                6RXWK*UDQG$YHQXH              LQ6HQLRU8WLOLW\1RWHV
                                                                                        WK)ORRU                   VKDUHVRI3*	(6WRFN
                                                                                 /RV$QJHOHV&$               LQ'HOD\HG',37HUP/RDQV
                                                                                                                      LQ',37HUP/RDQV
                                                                                                                      LQ8WLOLW\5HYROYHU/RDQV
                                                                                                                      LQ8WLOLW\7HUP/RDQV
                               2FK=LII&DSLWDO0DQDJHPHQW*URXS                   :HVWWK6WUHHW               LQ6HQLRU8WLOLW\1RWHV
                                              //&                                     WK)ORRU                    VKDUHVRI3*	(6WRFN




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                                                                                                                      3XW2SWLRQVRIVKDUHVRI3*	(6WRFN




Page 7 of 8
                                    ³8WLOWLW\7HUP/RDQV´PHDQVORDQVXQGHUWKDWFHUWDLQWHUPORDQDJUHHPHQWGDWHGDVRI)HEUXDU\E\DQGDPRQJWKH8WLOLW\7KH%DQNRI7RN\R0LWVXELVKL8)-/WG

                             ³%708´DQG86%DQN1DWLRQDO$VVRFLDWLRQDVOHQGHUVMRLQWOHDGDUUDQJHUDQGMRLQWERRNUXQQHUVDQG%708DVDGPLQLVWUDWLYHDJHQW


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                                   3DFLILF,QYHVWPHQW0DQDJHPHQW          %URDGZD\             LQ6HQLRU8WLOLW\1RWHV
                                            &RPSDQ\//&                1HZ<RUN1<          LQ',37HUP/RDQV
                                                                                                      LQ&UHGLW'HIDXOW6ZDSV
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                                 36FKRHQIHOG$VVHW0DQDJHPHQW/3   $YHQXHRIWKH$PHULFDV    LQ6HQLRU8WLOLW\1RWHV
                                                                              VW)ORRU             VKDUHVRI3*	(6WRFN




Case: 19-30088
                                                                         1HZ<RUN1<          
                                    6HQDWRU,QYHVWPHQW*URXS/3         0DGLVRQ$YHQXH          LQ6HQLRU8WLOLW\1RWHV
                                                                               6XLWH              
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Doc# 744
                                    7DFRQLF&DSLWDO$GYLVRUV/3           3DUN$YHQXH           LQ6HQLRU8WLOLW\1RWHV
                                                                               WK)ORRU            
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                                   73*6L[WK6WUHHW3DUWQHUV//&        0F.LQQH\$YH          LQ6HQLRU8WLOLW\1RWHV
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                                        9lUGH3DUWQHUV,QF         0DUTXHWWH$YHQXH6RXWK     LQ6HQLRU8WLOLW\1RWHV
                                                                        0LQQHDSROLV01

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Page 8 of 8
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